       Case 18-02048-5-JNC                          Doc 6 Filed 04/24/18 Entered 04/24/18 16:14:07                                   Page 1 of 2

                                                            United States Bankruptcy Court
                                                            Eastern District of North Carolina
                                                                  Greenville Division


Debtor 1                 Tunica Wonetta Thompson                                                Social Security number or ITIN    xxx−xx−4798

                         First Name   Middle Name    Last Name                                  EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name    Last Name
                                                                                                EIN   _ _−_ _ _ _ _ _ _
                                                                                                Date case filed for chapter 13 4/24/18
Case number:          18−02048−5−JNC




Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                    12/17

For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has been entered. This notice
has important information about the case for creditors, debtors, and trustees, including information about the meeting of creditors and
deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.

Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                             About Debtor 1:                                                About Debtor 2:
1. Debtor's full name                        Tunica Wonetta Thompson

     All other names used in the last 8
2.
     years
                                             PO Box 6155
3. Address
                                             Wilson, NC 27894
                                             Palmer E. Huffstetler III                                      Contact phone: 252 937−3027
                                             Sosna Law Offices, PLLC
4. Debtor's attorney
   Name and address                          3031 Zebulon Road
                                             Rocky Mount, NC 27804
5. Bankruptcy trustee                        Joseph A. Bledsoe III                                          Contact phone: 252 633−0074
   Name and address                          PO Box 1618
                                             New Bern, NC 28563
6. Bankruptcy clerk's office                                                                                Office Hours: 8:30 a.m. − 4:30 p.m.
   Documents in this case may be filed       300 Fayetteville Street, 4th Floor                             Contact phone: 919−856−4752
   at this address.                          P.O. Box 791                                                   Date: 4/25/18
   You may inspect all records filed in      Raleigh, NC 27602
   this case at this office or online at
    www.pacer.gov.
                                                                                                                          For more information, see page 2




Official Form 309I                                      Notice of Chapter 13 Bankruptcy Case                                               page 1
       Case 18-02048-5-JNC                    Doc 6 Filed 04/24/18 Entered 04/24/18 16:14:07                                            Page 2 of 2
Debtor Tunica Wonetta Thompson                                                                                                 Case number 18−02048−5−JNC

7. Meeting of creditors
   Debtors must attend the meeting to     May 24, 2018 at 10:30 AM                                          Location:
   be questioned under oath. In a joint
   case, both spouses must attend.                                                                          Randy D. Doub United States Courthouse,
   Creditors may attend, but are not      The meeting may be continued or adjourned to a                    Room 108, 150 Reade Circle, Greenville, NC
   required to do so.                     later date. If so, the date will be on the court                  27858
                                          docket.
                                                                                                            Please bring a government issued picture
                                                                                                            ID with you to the meeting of creditors.
                                                                                                            This ID is required for entry into the
                                                                                                            building.
8. Deadlines                              Deadline to file a complaint to challenge                                Filing deadline: 7/23/18
   The bankruptcy clerk's office must     dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                             You must file:
                                          • a motion if you assert that the debtors are
                                              not entitled to receive a discharge under
                                              U.S.C. § 1328(f) or
                                          • a complaint if you want to have a particular
                                              debt excepted from discharge under
                                              11 U.S.C. § 523(a)(2) or (4).
                                          Deadline for all creditors to file a proof of claim                      Filing deadline: 7/3/18
                                          (except governmental units):
                                          Deadline for governmental units to file a proof of                       Filing deadline: 10/22/18
                                          claim:


                                          Deadlines for filing proof of claim:
                                           A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                           www.nceb.uscourts.gov or any bankruptcy clerk's office. Alternatively, the claim may be filed electronically on
                                          the above website by accessing the Proof of Claim section. When filing electronically, it is not necessary to
                                          complete a paper claim form.

                                          If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                          a proof of claim even if your claim is listed in the schedules that the debtor filed.

                                          Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                          claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                          For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                          including the right to a jury trial.


                                          Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                          The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                          believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                          may file an objection.
9. Filing of plan                         The debtor has filed a plan. The plan and notice of confirmation hearing will be sent separately.
10. Creditors with a foreign address      If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
                                          extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                          questions about your rights in this case.
11. Electronic noticing                   Parties may opt to receive notices from the court via email rather than U.S. Mail. Register at ebn.uscourts.gov.
12. Filing a chapter 13 bankruptcy        Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    case                                  according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                          plan and appear at the confirmation hearing. A copy or summary of the plan, if not enclosed, will be sent to you
                                          later, and if the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation
                                          hearing. The debtor will remain in possession of the property and may continue to operate the business, if any,
                                          unless the court orders otherwise.
13. Exempt property                       The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                          to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                          You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law
                                          does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
14. Discharge of debts                    Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                          However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                          are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                          as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                          523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                          you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                          must file a motion. The bankruptcy clerk's office must receive the objection by the deadline to object to
                                          exemptions in line 8.




Official Form 309I                                   Notice of Chapter 13 Bankruptcy Case                                                      page 2
